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15                        UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17                                    WESTERN DIVISION
18
                                               Case No. 2:22-cv-04355-JFW-JEM
19    Yuga Labs, Inc.,
20                                             DISCOVERY MATTER
                      Plaintiff and
21                    Counterclaim Defendant, EX PARTE MOTION TO COMPEL
22                                             PRODUCTION OF SETTLEMENT
           v.                                  AGREEMENT AND RELATED
23                                             MATERIALS
24    Ryder Ripps, Jeremy Cahen,
                                               Critical Date: March 2, 2023 deposition
25                    Defendants and           Discovery cut-off: April 3, 2023
26                    Counterclaim Plaintiffs. Judge: Hon. John E. McDermott
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1    I.    INTRODUCTION
2          Yuga Labs, Inc. (“Yuga”), a multi-billion-dollar corporation, is using scorched
3    earth litigation tactics to stonewall discovery by forcing Defendants, who are two
4    individuals, to brief and litigate every frivolous discovery dispute that Yuga creates.
5    Yuga has taken its discovery misconduct to a new level in recent days by creating an
6    emergency necessitating the Court’s intervention. Defendants are scheduled to take
7    the deposition of third-party Thomas Lehman on March 2, 2023 and intend to ask
8    questions regarding an affidavit that was secured through a February 3, 2023,
9    settlement in a case involving trademark claims over the same RR/BAYC Project
10   implicated in this litigation. Yuga itself has placed that settlement at issue in this case
11   by citing the related affidavit in support of its motion to dismiss Mr. Ripps and Mr.
12   Cahen’s counterclaims, and by having all three of its experts rely on it in their expert
13   reports. Defendants therefore need the settlement agreement and related
14   communications to conduct the deposition of Mr. Lehman, but Yuga has flatly refused
15   to provide it, arguing that the documents are confidential and irrelevant. Neither
16   argument holds water, since the Court has entered a protective order in this case and
17   Yuga has affirmatively relied on the affidavit. Accordingly, the Court should order
18   Yuga to immediately produce the settlement agreement and related communications.
19   II.   ISSUES PRESENTED
20         A.     Document Request Nos. 4, 13, 35
21   Document Request No. 4
22                All Documents and Things relating to any lawsuit, judicial
23         proceeding, administrative proceeding, U.S. Patent & Trademark Office or
24         foreign trademark office proceeding, or arbitration relating to BAYC
25         NFTs. This includes, without limitation, all pleadings; applications;
26         motions and supporting Documents and exhibits; written discovery
27         requests and responses thereto; privilege logs; deposition, trial, hearing, or
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1         other testimony; deposition, trial, hearing, or other exhibits; expert reports
2         and materials; memoranda and points of authorities, including all
3         supporting Documents and exhibits; rulings or orders; and all hearing
4         transcripts.
5    Response to Document Request No. 4
6               Yuga Labs incorporates by reference each of the General Objections
7         set forth above as if fully set forth herein. Yuga Labs objects to this request
8         as overbroad, not proportionate to the needs of the case, and unduly
9         burdensome, including because it requests “[a]ll Documents and Things”
10        where a subset of documents would be sufficient, should any response be
11        required. Yuga Labs objects to this request to the extent it seeks disclosure
12        of information protected by the attorney-client privilege, the work product
13        doctrine, or any other applicable privilege. Yuga Labs objects to this
14        request to the extent it seeks information that is subject to any protective
15        order, privacy interest, contractual obligation, other confidentiality
16        obligation owed to any third party, or competitively sensitive or
17        proprietary financial or business information. Yuga Labs objects to the
18        extent that the requested documents are equally available to Defendants
19        from other sources that are more convenient, less burdensome and/or less
20        expensive, particularly to the extent the information sought is publicly
21        available from the U.S. Patent & Trademark Office.
22              Subject to and without waiving the foregoing objections, and subject
23        to the Protective Order in this Action (ECF No. 51), Yuga Labs will
24        produce non-privileged, relevant, responsive documents within its
25        possession, custody, or control, if any, located after a reasonable search
26        proportional to the needs of the case sufficient to show its United States
27        trademark applications for the Asserted Marks.
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1               Subject to and without waiving the foregoing objections, after
2         conducting a reasonable search proportional to the needs of the case for
3         documents within its possession, custody, or control, Yuga Labs responds
4         that it has no documents related
5         to judicial proceedings, other than this litigation, which Yuga Labs has
6         initiated regarding BAYC NFTs.
7    Document Request No. 13
8               All Documents produced or made available to Yuga by any non-
9         party or Third Party relating to this Litigation.
10   Response to Document Request No. 13
11              Yuga Labs incorporates by reference each of the General Objections
12        set forth above as if fully set forth herein. Yuga Labs objects to this request
13        as overbroad, not relevant to any claim or defense and not proportionate to
14        the needs of the case as to the use of the term “relating to.” Yuga Labs
15        objects to this request to the extent it seeks disclosure of information
16        protected by the attorney-client privilege, the work product doctrine, or
17        any other applicable privilege. Yuga Labs objects to this request to the
18        extent it seeks information that is subject to any protective order, privacy
19        interest, contractual obligation, other confidentiality obligation owed to
20        any third party, or competitively sensitive or proprietary financial or
21        business information.
22              Subject to and without waiving the foregoing objections, and subject
23        to the Protective Order in this Action (ECF No. 51), Yuga Labs will
24        produce all documents produced to Yuga Labs by third parties or non-
25        parties in response to subpoenas in this litigation.
26   Document Request No. 35:
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1               All Documents relating to any determination, charge, contention,
2         notification, negotiation, or assertion that any Person, Entity, logo, name,
3         or product, infringes or might infringe any Asserted Mark. This includes,
4         without limitation, all Documents relating to any meeting, discussion, or
5         Communication with any Person or Entity relating to any Asserted Marks.
6    Response to Document Request No. 35:
7               Yuga Labs incorporates by reference each of the General Objections
8         set forth above as if fully set forth herein. Yuga Labs objects to this request
9         as overbroad, not proportionate to the needs of the case, and unduly
10        burdensome to the extent it seeks “without limitation” documents and
11        communications “relating to any Asserted Marks” in any way. Yuga Labs
12        objects to this request as overbroad, not proportionate to the needs of the
13        case, and unduly burdensome, including because it requests “[a]ll
14        Documents” and to the extent it qualifies categories of information with
15        the term “any,” where a subset of documents would be sufficient, should
16        any response be required. Yuga Labs objects to this request to the extent it
17        seeks disclosure of information protected by the attorney-client privilege,
18        the work product doctrine, or any other applicable privilege. Yuga Labs
19        objects to this request to the extent it seeks information that is subject to
20        any protective order, privacy interest, contractual obligation, other
21        confidentiality obligation owed to any third party, or competitively
22        sensitive or proprietary financial or business information.
23              Subject to and without waiving the foregoing objections, and subject
24        to the Protective Order in this Action (ECF No. 51), Yuga Labs will
25        produce non-privileged, relevant, responsive documents within its
26        possession, custody, or control, if any, located after a reasonable search
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1          proportional to the needs of the case sufficient to show representative
2          examples of Yuga Labs’ enforcement of its rights in the Asserted Marks.
3                 i.     Factual Background
4          Approximately seven months after Yuga initiated this litigation, Yuga filed a
5    related case in the Northern District of New York against Mr. Lehman (Yuga Labs,
6    Inc. v. Thomas Lehman, Case No. 1:23-cv-000850-MAD-TWD), alleging trademark
7    infringement claims regarding the RR/BAYC Project. Gosma Decl. Ex. 5. On
8    February 3, 2023, Mr. Lehman and Yuga entered into a settlement agreement and on
9    February 7, 2023, the N.D.N.Y. case was dismissed. Gosma Decl. Ex. 6 at 1. In
10   connection with that settlement, Yuga obtained an affidavit from Mr. Lehman making
11   a litany of controversial, out of context, and factually incorrect statements. Gosma
12   Decl. Ex. 7. Yuga has since then used the declaration in this litigation as evidence,
13   including by relying on the affidavit in three separate expert reports (damages,
14   consumer survey, and brand equity). Gosma Decl. ¶ 3. Yuga has also relied on Mr.
15   Lehman affidavit in its briefing before this Court, including in its reply in support of
16   its motion to dismiss. Dkt. 97, 97-3.
17         Defendants promptly asked Yuga to produce the confidential settlement
18   agreement and related communications under this Court’s Protective Order because it
19   is highly relevant to, for example, the credibility of the statements in the affidavit
20   (which Yuga and its experts have now relied on repeatedly). On February 6, 2024,
21   Defendants contacted Yuga asking for the production of “all documents related to and
22   communications with Mr. Lehman and/or his counsel … regarding the settlement[.]”
23   Gosma Decl. Ex. 8 at 7. Defendants made this request under Documents Requests
24   Nos. 4 (documents regarding relevant lawsuits), 13 (documents produced by third
25   parties), and 31 (documents relating to any determination/negotiation regarding
26   trademark infringement), all of which plainly cover the document. Id. But Yuga
27   refused to produce these materials, stating that the settlement “documents are not
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1    relevant or proportionate to the needs of this case” and are confidential. Gosma Decl.
2    Ex. 8 at 3.
3          On February 14 and 15 Defendants also requested that the parties confer under
4    Local Rule 37-1. Gosma Decl. Ex. 8 at 4-5. In response to both requests, Yuga
5    refused to confer. Id. 3-5. On February 16, Defendants contacted Yuga a third time,
6    asking for a conference on February 17 and stating that they would like to “take one
7    last run at resolving this before we involve the Court.” Id. at 2-3. Yuga refused to
8    confer on the 17th and instead provided its availability for February 27 (just three
9    days before Mr. Lehman’s deposition). Id. at 1. Yuga, which has retained countless
10   attorneys for this case, did not need an additional ten days to discuss this simple
11   discovery request. And, as Defendants explained to Yuga, waiting until “mere days
12   before Mr. Lehman’s deposition … would leave essentially no time for the parties to
13   seek the Court’s assistance[.]” Id. at 1.
14                 ii.   Yuga Is Obligated to Produce the Settlement in the N.D.N.Y.
                         case and Related Communications
15
           Yuga’s delay tactics, discussed above, are aimed stalling out the meet and
16
     confer process and forcing Defendants to go through the costly and time-consuming
17
     process of submitting a joint stipulation that almost certainly cannot be resolved prior
18
     to Mr. Lehman’s March 2, 2023, deposition. 1 The e-mail exchange between the
19
     parties on this issue, which Defendants urge the Court to review, evidences Yuga’s
20
     clear intent to delay resolution of this issue for as long as possible (for example, by
21
     waiting until days have passed to respond), rather than engage in good faith. 2
22
           Yuga has taken the perplexing position that their settlement agreement and
23
     related communications with one of RR/BAYC’s creators is not discoverable because
24
     it is (1) not relevant and (2) confidential. Yuga’s positions ring hollow considering
25
26
     1
       The e-mail exchange confirming the March 2, 2023, date for Mr. Lehman’s
27
     deposition can be found on as Exhibit 9 to the Gosma Declaration.
28   2
       The e-mail exchange can be found as Exhibit 8 to the Gosma Declaration.
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1    that it repeatedly relies on a controversial affidavit that was secured through Mr.
2    Lehman’s settlement (under what conditions, Defendants still do not know). And
3    Yuga’s confidentiality concerns are not a valid excuse for withholding highly relevant
4    documents especially when considering that the Court has entered a Protective Order
5    in this case precisely for this reason. See Gosma Decl. Ex. 2.
6          As an initial matter, “there is no federal privilege preventing the discovery of
7    settlement agreements and related documents.” Bd. Of Trustees of Leland Stanford
8    Junior Univ. v. Tyco Int’l Ltd., 253 F.R.D. 521, 523 (C.D. Cal. 2008). Thus,
9    confidential settlement agreements must be produced upon a “particularized and/or
10   heightened showing that the settlement information sought is relevant and likely to
11   lead to admissible evidence.” Peters v. Equifax Info. Servs. LLC, No. 12-cv-01837-
12   TJH (OPx), 2013 WL 12169355, at *2 (C.D. Cal. Dec. 13, 2013). Further, the entry
13   of a protective order, as there is in this case, “substantially mitigates” privacy
14   concerns relating to disclosure of materials relating to a confidential settlement
15   agreement. O’Brien v. Johnson & Johnson Medical Devices Co., 19-cv-00619-CJC-
16   (SPx), 2020 WL 5215384, at *5 (C.D. Cal. June 24, 2020).
17         Defendants’ request for Mr. Lehman’s settlement and related communications
18   satisfies these particularized relevance requirements because these materials shed light
19   on the credibility of the assertions Mr. Lehman made in his February 3, 2023,
20   affidavit. Mr. Lehman’s affidavit includes several controversial statements regarding
21   the purpose behind the RR/BAYC NFT Project, how the project came about,
22   consumer confusion, trademark infringement risks, and Defendants’ promotion of the
23   RR/BAYC NFT Project. Many of these statements have been taken out of context or
24   are simply incorrect. Yuga, after securing this affidavit through a settlement in the
25   related N.D.N.Y. case, has repeatedly relied on the affidavit including in three expert
26   reports and in its motion practice in this litigation. Yuga’s systematic dependance on
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1    the affidavit confirms its importance to this case and that the document’s credibility is
2    a highly relevant issue.
3           Paradoxically, Yuga is now claiming that materials relating to Mr. Lehman’s
4    settlement agreement, which was finalized on the same day as Mr. Lehman’s
5    affidavit, is irrelevant to the contents of the affidavit. Yuga will likely continue to use
6    Mr. Lehman’s affidavit, including during summary judgement, and as things stand
7    Defendants will be unable to use Mr. Lehman’s deposition to properly inquire
8    regarding the interplay between his settlement and his affidavit.
9           Moreover, Defendants request for settlement materials in a related case
10   involving trademark claims regarding the RR/BAYC Project is plainly relevant due to
11   significant overlap of issues. Courts in this jurisdiction have routinely required
12   production of settlement agreements in related cases or among related parties. See Bd.
13   of Trustees of Leland Stanford Junior Univ. v. Tyco Int'l Ltd., 253 F.R.D. 521, 522
14   (C.D. Cal. 2008); Lytel v. Simpson, 2006 WL 8459764, at *2 (N.D. Cal. June 23,
15   2006); Hem & Thread, Inc. v. Wholesalefashionsquare.com, Inc., 2:19-cv-00283-
16   CBM-AFMx, 2020 WL 5044610, at *3-4 (C.D. Cal. June 16, 2020); In re Banc of
17   California Sec. Litig., 2018 WL 1726237, at *1 (C.D. Cal. Apr. 6, 2018). Although
18   there is an interest in protecting the confidentiality of settlements, those privacy
19   interests are sufficiently protected in cases, like ours, where a protective order has
20   been entered. O'Brien, 2020 WL 5215384, at *5.
21   III.   CONCLUSION
22          For the reasons set forth above, Yuga should be compelled to produce the
23   settlement agreement in Yuga Labs, Inc. v. Thomas Lehman, Case No. 1:23-cv-
24   000850-MAD-TWD and all related communications.
25
26   Dated: February 17, 2023                 By: /s/ Derek Gosma
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28                                                Monica Grewal (pro hac vice)
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1                                 CERTIFICATE OF SERVICE
2             I hereby certify that a copy of the foregoing document was served on all attorneys
3    of record via the Court’s ECF system on February 17, 2023.
4
5    Dated: February 17, 2023                  By: /s/ Derek Gosma
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10
11
12
                               CERTIFICATE OF COMPLIANCE
13
              The undersigned, counsel of record for Ryder Ripps and Jeremy Cahen, certifies
14
     that this motion consists of 8 pages complying with requirements set forth in the Local
15
     Rules.
16
17
     Dated: February 17, 2023                  By: /s/ Derek Gosma
18
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